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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


RUBY FREEMAN and WANDREA’ MOSS,

                               Plaintiffs,
                                                                    No. 24-cv-6563 (LJL)
v.

RUDOLPH W. GIULIANI,

                               Defendant.


 DECLARATION OF AARON E. NATHAN IN SUPPORT OF PLAINTIFFS’ LETTER-
      MOTION TO COMPEL ANSWERS TO PLAINTIFFS’ FIRST SET OF
                       INTERROGATORIES

       I, Aaron E. Nathan, hereby declare as follows pursuant to 28 U.S.C. § 1746:

       1.      I am counsel to Plaintiffs Ruby Freeman and Wandrea’ Moss (“Plaintiffs”) in the

above-captioned action.

       2.      I submit this declaration in support of Plaintiffs’ Letter-Motion to Compel

Defendant Rudolph W. Giuliani (“Defendant”) to answer Interrogatories #4 and #8 from Plaintiffs’

First Set of Interrogatories (“First Interrogatories”). A true and correct copy of the First

Interrogatories are attached hereto as Exhibit A.

       3.      Plaintiffs served the First Interrogatories on Defendant on November 6, 2024. A

true and correct copy of Plaintiffs’ counsel’s service on Defendant through his counsel is attached

hereto as Exhibit B.

       4.      On November 22, 2024, Plaintiffs’ counsel emailed Defendant’s counsel stating

that no response to the First Interrogatories had been received, and requesting a meet-and-confer.

A true and correct copy of that correspondence is attached hereto as Exhibit C.
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       5.      Counsel met and conferred that afternoon; following that meet-and-confer

Plaintiffs’ counsel agreed to an extension of time to November 26, 2024, at 2:00 p.m. Ex. C at 1.

No responses were served by that deadline.

       6.      On Friday, November 29, 2024, during a meet-and-confer relating to the scheduling

of Defendant’s deposition, Defendant’s counsel informed undersigned counsel that the

interrogatory responses would be served that day. No responses were served that day.

       7.      On Monday, December 2, 2024, Defendant served his response to Plaintiffs’ First

Interrogatories. A true and correct copy of these responses was filed on December 5, 2024 as an

exhibit to Plaintiffs’ motion for sanctions, ECF No. 107-4, and is attached hereto as Exhibit D.

       8.      On December 3, 2024, Plaintiffs’ counsel emailed Defendant’s counsel, stating

inter alia that Defendant’s objections to Interrogatories #4 and #8 were waived because untimely,

and were meritless, and requesting that Defendant supplement those answers accordingly by

December 4, 2024. At Defendant’s counsel’s request, Plaintiffs’ counsel agreed to extensions of

that deadline, the last of which extended the deadline to 5:00 p.m. on December 8, 2024. A true

and correct copy of that correspondence is attached hereto as Exhibit E.

       9.      On December 8, 2024, Mr. Giuliani served his amended responses to Plaintiffs’

First Interrogatories. Defendant also included 17 “exhibits” with his Amended Responses which

have been omitted here for space. A true and correct copy of Defendant’s amended interrogatory

responses, without exhibits, is attached hereto as Exhibit F.

       I declare under penalty of perjury that the foregoing is true and correct.


Executed on December 13, 2024.                       s/ Aaron E. Nathan
                                                     Aaron E. Nathan
                                                     Willkie Farr & Gallagher LLP
                                                     787 Seventh Avenue
                                                     New York, New York 10019



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